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UNITED STATES DISTRICT COURT EAS"E2) Sie reisy
EASTERN DISTRICT OF WISCONSIN -

 

 

UNITED STATES OF AMERICA, 06 HAY 25 P1330
Plaintiff, a CR
Vv. Case No. 06-CR-39 (IPS)
TOMMIE L. COLE,

Defendant.

 

PLEA AGREEMENT

 

I, The United States of America, by its attorneys, Steven M. Biskupic, United States
Attorney for the Eastern District of Wisconsin, and Daniel H. Sanders, Assistant United States Attor-
ney, and the defendant, Tommie L. Cole, individually and by attorney Michael Steinle, pursuant to
Rule 11 of the Federal Rules of Criminal Procedure, enter into the following plea agreement:

CHARGES

2. The defendant has been charged in a one count indictment which allege violations of
Title 21, United States Code, Sections 841(a)(1), 841(b)(B), 853, and 860(a).

3. The defendant has read and fully understands the charge contained in indictment and
fully understands the nature and elements of the crime with which he has been charged and the
charge and the terms and conditions of the plea agreement have been fully explained to him by his
attorney.

4. The defendant voluntarily agrees to plead guilty to Count One of the indictment, set

forth in full as follows:

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THE GRAND JURY CHARGES:
COUNT ONE

1. On or about February 3, 2006, in the City of Milwaukee and
in the State and Eastern District of Wisconsin,

TOMMIE L. COLE,

defendant herein, knowingly and intentionally possessed with the
intent to distribute a controlled substance.

2. The offense involved 500 grams or more of a mixture and
substance containing cocaine, a Schedule IT controlled substance

All in violation of Title 21, United States Code, Sections 841(a)(1)
and 841(b)(1)(B).

5. The defendant acknowledges, understands, and agrees that he is, in fact, guilty of the
offenses described in paragraph 4. The parties acknowledge and understand that if this case were
to proceed to trial, the government would be able to prove the facts contained in Attachment A
beyond a reasonable doubt. This showing would be made based on the testimony of informants,
cooperating co-conspirators, law enforcement officers, and citizen witnesses. The evidence would
also include consensual recordings, documents, physical evidence obtained as a result of search
warrants, traffic stops and arrests, pen/trap/toll analyses, wiretap monitoring, and physical
surveillance. The defendant admits to these facts and that these facts establish his guilt beyond a
reasonable doubt. This information is provided for the purpose of setting forth a factual basis for
the plea of guilty. It is not a full recitation of the defendant’s knowledge of or participation in this

offense.

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PENALTIES
6. The defendant acknowledges and affirms, pursuant to Title 21, United States Code,

Section 851(b), that the defendant committed the offense as alleged in COUNT ONE after the
defendant had been convicted of the felony drug offense as alleged below in the information filed
on May 24, 2004:

THE UNITED STATES ATTORNEY CHARGES:

That on or about May 2, 2001, in the State and Eastern District of

Wisconsin,

TOMMIE L. COLE,
the defendant herein, was convicted of a felony drug offense, to wit:
Manucturing/Delivery of Cocaine, Milwaukee County Circuit Court,

Case No. 2001CF000130.

Filed pursuant to Title 21, United States Code, Sections 851 (a), 846,
and 841(b)(1)(A).

7. The defendant acknowledges and affirms, pursuant to Title 21, United States Code,
Section 860(a), that the defendant committed the offense as alleged in COUNT ONE of the
indictment within 1,000 feet of real property comprising two public elementary schools, namely
Twenty-First Street Public School at 212 West Hadley Street, Milwaukee, Wisconsin, and Franklin
Public School at 2308 West Nash Street, Milwaukee, Wisconsin.

8. Based on the affirmations in paragraphs 6 and 7 above, the parties understand and
agree that the offense to which the defendant will enter a plea of guilty carries the following
minimum and maximum terms of imprisonment, fine, and supervised release: 10 years to life,

$8,000,000, and 8 years to life. The count also carries a mandatory special assessment of $100.00.

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9. The defendant acknowledges, understands, and agrees that he has discussed the
relevant statutes as well as the applicable sentencing guidelines with his attorney, including any
possibility that the defendant may qualify as a career offender under the sentencing guidelines.

PROOF OF DRUG WEIGHT FOR STATUTORY MAXIMUM PENALTY

10.‘ The parties understand and agree that for the penalties in Title 21, United States Code,
Sections 841(b)(1)(B), 851(b), and 860(a) to apply, as provided in paragraphs 6-8 above, the
government must prove beyond a reasonable doubt that the offense to which the defendant is
pleading guilty involved 500 grams or more of a mixture and substance containing cocaine, a
Schedule II controlled substance. The defendant agrees that the government possesses sufficient,
admissible evidence to meet this burden.

ELEMENTS

11. The parties understand and agree that in order to sustain the charge of possession

with intent to distribute a controlled substance as set forth in Count One, the government must prove

each of the following propositions beyond a reasonable doubt:

First the defendant knowingly possessed a controlled substance; and
Second that the defendant did so with the intent to distribute it to another person.
SENTENCING PROVISIONS

 

12. The parties agree to waive the time limits in Fed. R. Crim. P. 32 relating to the
presentence report, including that the presentence report be disclosed not less than 35 days before
the sentencing hearing, in favor of a schedule for disclosure, and the filing of any objections, to be

established by the court at the change of plea hearing.

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13, The parties acknowledge, understand, and agree that any sentence imposed by the
court will be pursuant to the Sentencing Reform Act, and that the court will give due regard to the
Sentencing Guidelines when sentencing the defendant.

14. The parties acknowledge and agree that they have discussed all of the sentencing
guidelines provisions which they believe to be applicable to the offense set forth in paragraph 4. The
defendant acknowledges and agrees that his attorney in turn has discussed the applicable sentencing
guidelines provisions with him to the defendant’s satisfaction.

15. The parties acknowledge and understand that prior to sentencing the United States
Probation Office will conduct its own investigation of the defendant’s criminal history for purposes
of assisting the sentencing court in determining the defendant’s criminal history category under the
sentencing guidelines. The parties further acknowledge and understand that, at the time the
defendant enters a guilty plea, the parties may not have full and complete information regarding the
defendant’s criminal history. The parties acknowledge, understand, and agree that the defendant may
not move to withdraw the guilty plea solely as a result of the sentencing court’s determination of
defendant’s criminal history category.

Sentencing Guidelines Calculations

16. The parties acknowledge, understand, and agree that the sentencing guidelines
calculations included in this agreement represent the positions of the parties on the appropriate
sentence range under the sentencing guidelines. The defendant acknowledges and understands that
the sentencing guidelines recommendations contained in this agreement do not create any right to
be sentenced within any particular sentence range, and that the court may impose a reasonable

sentence above or below the guideline range. The parties further understand and agree that if the

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defendant has provided false, incomplete, or inaccurate information that affects the calculations, the
government is not bound to make the recommendations contained in this agreement.
Relevant Conduct
17. The parties acknowledge, understand, and agree that pursuant to Sentencing Guide-
lines Manual § 1B1.3, the sentencing judge may consider relevant conduct in calculating the
sentencing guidelines range, even if the relevant conduct is not the subject of the offense to which
defendant is pleading guilty. The parties further acknowledge, understand, and agree to recommend
to the sentencing court that the relevant conduct attributable to the defendant is greater than 3.5
kilograms, but less than 5 kilograms of a mixture and substance containing cocaine, a Schedule II
controlled substance.
Base Offense Level
18. Theparties acknowledge, understand, and agree to recommend to the sentencing court
that the applicable base offense level for the offense charged in Count One is level 30 under
Sentencing Guidelines Manual § 2D1.1(c)(5).
Reckless Endangerment During Flight
19. The parties acknowledge, understand, and agree to recommend to the sentencing court
that the defendants base offense level should be increased by 2 levels pursuant to Sentencing
Guidelines Manual § 3C1.2 because the defendant recklessly created a substantial risk of death or
serious bodily injury to another person in the course of fleeing from a law enforcement officer during

the commission of the offense charged in Count One.

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Acceptance of Responsibility

 

20. The government agrees to recommend a two-level decrease for acceptance of
responsibility as authorized by Sentencing Guidelines Manual § 3E1.1(a), but only if the defendant
exhibits conduct consistent with the acceptance of responsibility. The defendant acknowledges,
understands, and agrees that conduct consistent with the acceptance of responsibility includes but
is not limited to the defendant’s voluntary identification and disclosure to the government of any and
all actual or potential victims of the offense prior to sentencing. In addition, if the court determines
at the time of sentencing that the defendant is entitled to the two-level reduction under § 3E1.1(a),
the government agrees to make a motion recommending an additional one-level decrease as
authorized by Sentencing Guidelines Manual § 3E1.1(b) because the defendant timely notified
authorities of his intention to enter a plea of guilty.

Sentencing Recommendations

21. Both parties reserve the right to apprise the district court and the probation office of
any and all information which might be pertinent to the sentencing process, including but not limited
to any and all conduct related to the offense as well as any and all matters which might constitute
aggravating or mitigating sentencing factors.

22. Both parties reserve the right to make any recommendation regarding any other
matters not specifically addressed by this agreement.

Court’s Determinations at Sentencing

23. The parties acknowledge, understand, and agree that neither the sentencing court nor

the United States Probation Office is a party to or bound by this agreement. The parties further

understand that the United States Probation Office will make its own recommendations to the

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sentencing court. The sentencing court will make its own determinations regarding any and all
issues relating to the application of the sentencing guidelines and may impose any sentence
authorized by law up to the maximum penalties set forth in paragraph 6 above. The parties further
understand that the sentencing court may, in certain circumstances, depart either upward or
downward from the otherwise applicable guideline range.
24. The parties acknowledge, understand, and agree that the defendant may not move to
withdraw the guilty plea solely as a result of the sentence imposed by the court.
FINANCIAL MATTERS
25. The defendant acknowledges and understands that any and all financial obligations
imposed by the sentencing court are due and payable upon entry of the judgment of conviction. The
defendant agrees not to request any delay or stay in payment of any and all financial obligations.
Special Assessment
26. The defendant agrees to pay the special assessment in the amount of $100 prior to or
at the time of sentencing.
Forfeiture
27. The defendant agrees that the following assets and properties, all of which are listed
in the forfeiture allegation of the Indictment, are subject to administrative, criminal, and/or civil
forfeiture:
a. a ring and earing set with several diamond studs - valued at approximately
$3,000 - taken from the person of Tommie Cole upon his arrest on February
3, 2006; and

b. approximately $429.00 U.S. Currency taken from the person of Tommie Cole
upon his arrest on February 21, 2006.

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The defendant agrees that the above-listed items were obtained by him in connection with his illegal
activity as alleged in the Information. The defendant stipulates to the forfeiture of the listed assets
and properties. The defendant agrees to the immediate entry of a preliminary order of forfeiture and
waives his right to appear and contest any portion of any and all forfeiture proceedings. The
defendant further agrees to take whatever steps are necessary to pass clear title to the government,
including but not limited to surrender of title, the signing of a consent decree, a stipulation of facts
regarding the transfer and basis for the forfeitures, and signing any other document necessary to
effectuate such transfers upon the government’s request. The parties acknowledge and understand
that the government reserves the right to proceed against any remaining assets not identified in this
agreement, including any property in which the defendant has any interest or control, including but
not limited to any assets which represent property, real or personal, involved in violations of 18
U.S.C. § 1956 or 1957, or 31 U.S.C. § 5313(a), 5324, or 5316, or are traceable to such property.
DEFENDANT’S COOPERATION

28. The defendant, by entering into this agreement, further agrees to fully and completely
cooperate with the government in its investigation of this and related matters, and to testify truthfully
and completely before the grand jury and at any subsequent trials or proceedings, if asked to do so.
The government agrees to advise the sentencing judge of the nature and extent of the defendant’s
cooperation. The parties acknowledge, understand and agree that if the defendant provides
substantial assistance to the government in the investigation or prosecution of others, the
government, in its discretion, may recommend a downward departure from any applicable statutory

mandatory minimum and the applicable sentencing guideline range. The defendant acknowledges

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and understands that the court will make its own determination regarding the appropriateness and

extent to which such cooperation should affect the sentence.

DEFENDANT’S WAIVER OF RIGHTS

29. In entering this agreement, the defendant acknowledges and understands that in so

doing he surrenders any claims he may have raised in any pretrial motion, as well as certain rights

which include the following:

a.

If the defendant persisted in a plea of not guilty to the charges against him,
he would be entitled to a speedy and public trial by a court or jury. The
defendant has a right to a jury trial. However, in order that the trial be
conducted by the judge sitting without a jury, the defendant, the government
and the judge all must agree that the trial be conducted by the judge without

a jury.

If the trial is a jury trial, the jury would be composed of twelve citizens
selected at random. The defendant and his attorney would have a say in who
the jurors would be by removing prospective jurors for cause where actual
bias or other disqualification is shown, or without cause by exercising
peremptory challenges. The jury would have to agree unanimously before it
could return a verdict of guilty. The court would instruct the jury that the
defendant is presumed innocent until such time, if ever, as the government
establishes guilt by competent evidence to the satisfaction of the jury beyond
a reasonable doubt.

If the trial is held by the judge without a jury, the judge would find the facts
and determine, after hearing all of the evidence, whether or not he was
persuaded of defendant's guilt beyond a reasonable doubt.

At such trial, whether by a judge or a jury, the government would be required
to present witnesses and other evidence against the defendant. The defendant
would be able to confront witnesses upon whose testimony the government
is relying to obtain a conviction and he would have the right to cross-examine
those witnesses. In turn the defendant could, but is not obligated to, present
witnesses and other evidence on his own behalf. The defendant would be
entitled to compulsory process to call witnesses.

At such trial, defendant would have a privilege against self-incrimination so
that he could decline to testify and no inference of guilt could be drawn from

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his refusal to testify. If defendant desired to do so, he could testify on his
own behalf.

30. The defendant acknowledges and understands that by pleading guilty he is waiving
all the rights set forth above. The defendant further acknowledges the fact that his attorney has
explained these rights to him and the consequences of his waiver of these rights. The defendant
further acknowledges that as a part of the guilty plea hearing, the court may question the defendant
under oath, on the record, and in the presence of counsel about the offense to which the defendant
intends to plead guilty. The defendant further understands that the defendant’s answers may later
be used against the defendant in a prosecution for perjury or false statement.

31. The defendant acknowledges and understands that he will be adjudicated guilty of
each offense to which he will plead guilty and thereby may be deprived of certain rights, including
but not limited to the right to vote, to hold public office, to serve on a jury, to possess firearms, and
to be employed by a federally insured financial institution.

32. The defendant knowingly and voluntarily waives all claims he may have based upon
the statute of limitations, the Speedy Trial Act, and the speedy trial provisions of the Sixth
Amendment. The defendant agrees that any delay between the filing of this agreement and the entry
of the defendant’s guilty plea pursuant to this agreement constitutes excludable time under the
Speedy Trial Act.

Further Civil or Administrative Action

33. The defendant acknowledges, understands, and agrees that the defendant has

discussed with his attorney and understands that nothing contained in this agreement is meant to

limit the rights and authority of the United States of America or any other state or local government

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to take further civil, administrative, or regulatory action against the defendant, including but not

limited to any listing and debarment proceedings to restrict rights and opportunities of the defendant

to contract with or receive assistance, loans, and benefits from United States government agencies.
GENERAL MATTERS

34. The parties acknowledge, understand, and agree that this agreement does not require
the government to take, or not to take, any particular position in any post-conviction motion or
appeal.

35. The parties acknowledge, understand, and agree that this plea agreement will be filed
and become part of the public record in this case.

36. The parties acknowledge, understand, and agree that the United States Attorney’s
office is free to notify any local, state, or federal agency of the defendant’s conviction.

37. The defendant understands that pursuant to the Victim and Witness Protection Act
and the regulations promulgated under the Act by the Attorney General of the United States, the
victim of a crime may make a statement describing the impact of the offense on the victim and
further may make a recommendation regarding the sentence to be imposed. The defendant
acknowledges and understands that comments and recommendations by a victim may be different
from those of the parties to this agreement.

Further Action by Internal Revenue Service

38. Nothing in this agreement shall be construed so as to limit the Internal Revenue
Service in discharging its responsibilities in connection with the collection of any additional tax,
interest, and penalties due from the defendant as a result of the defendant’s conduct giving rise to

the charges alleged in the second superseding second superseding indictment.

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EFFECT OF DEFENDANT’S BREACH OF PLEA AGREEMENT

39. The defendant acknowledges and understands if he violates any term of this
agreement at any time, engages in any further criminal activity prior to sentencing, or fails to appear
for sentencing, this agreement shall become null and void at the discretion of the government. The
defendant further acknowledges and understands that the government’s agreement to dismiss any
charge is conditional upon final resolution of this matter. If this plea agreement is revoked or if the
defendant’s conviction ultimately is overturned, then the government retains the right to reinstate
any and all dismissed charges and to file any and all charges which were not filed because of this
agreement. The defendant hereby knowingly and voluntarily waives any defense based on the
applicable statute of limitations for any charges filed against the defendant as a result of his breach
of this agreement. The defendant understands, however, that the government may elect to proceed
with the guilty plea and sentencing. Ifthe defendant and his attorney have signed a proffer letter in
connection with this case, then the defendant further acknowledges and understands that he continues
to be subject to the terms of the proffer letter.

VOLUNTARINESS OF DEFENDANT’S PLEA

 

40. The defendant acknowledges, understands, and agrees that he will plead guilty freely
and voluntarily because he is in fact guilty. The defendant further acknowledges and agrees that no
threats, promises, representations, or other inducements have been made, nor agreements reached,

other than those set forth in this agreement, to induce the defendant to plead guilty.

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ACKNOWLEDGMENTS

I am the defendant. J am entering into this plea agreement freely and voluntarily. Iam not now on
or under the influence of any drug, medication, alcohol, or other intoxicant or depressant, whether
or not prescribed by a physician, which would impair my ability to understand the terms and
conditions of this agreement. My attorney has reviewed every part of this agreement with me and
has advised me of the implications of the sentencing guidelines. I have discussed all aspects of this
case with my attorney and I am satisfied that my attorney has provided effective assistance of
counsel.

Date: S-° — S-06 lnpwk Lh
TOMMIE WCOLE
Defendant

I am the defendant’s attorney. I carefully have reviewed every part of this agreement with the
defendant. To my knowledge, my client’s decision to enter into this agreement is an informed and
voluntary one.

oe ~ Se Ma
Date: S “LJ Ob KE e
MICHAEL STEINL
Attorney for Defendan

 

For the United States of America:

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STEVEN M. BISKUPIC
United States Attorney

Date: 525/06 =A

batt t H. SANDERS
Assistant United States Attorney

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ATTACHMENT A

On February 3, 2006, a citizen, who wished to remain anonymous, informed Milwaukee
Police Officer Mark Harms that a subject named TOMMIE COLE would be coming to the 3600
block of N. 22nd St. in Milwaukee, WI to deliver cocaine. The citizen stated that COLE would be
driving a black Nissan Armada.

At approximately 5:42 pm, a black Nissan Armada bearing WI registration plate 300JGV
stopped in front of 3621 N. 22nd St. Milwaukee Police Officers Henner, Tank, and Lacy pulled in
front of the Nissan Armada with their emergency lights and siren activated. The sole occupant of the
Nissan Armada, later identified as TOMMIE COLE (B/M, DOB: 5-19-81), put the truck in reverse
and accelerated backwards at a high rate of speed into the intersection of N. 22nd and W. Nash St.
Police Officers Heidemann and Rhode entered the intersection in their unmarked squad car with the
emergency lights and siren activated. The Nissan Armada backed into the squad car causing
significant front end damage to the vehicle, and fracturing Officer Rhode's pinkie finger.

The Nissan Armada traveled eastbound on W. Keefe Ave. and then south on N. 20th St.
COLE disregarded numerous traffic signals and traveled at speeds of approximately 80mph in a
residential area. At N. 20th St. and W. Hadley St. the Nissan Armada struck a motorist causing a
property damage only accident. The vehicle continued south and struck a Police call box and then
crashed into the building at 2779 N. 20th St.

COLE exited the Nissan Armada and ran eastbound on W. Hadley St. COLE was taken into
custody at 2813 N. 20th Ln. in the street. Officer Bell observed a black duffel bag on the drivers seat
of the vehicle. The bag contained clothing, a plastic bag containing currency, and bags containing
suspected cocaine. The cocaine was conveyed to the Milwaukee Police Department Vice Control
Division by Officer Hutchinson. Detective Robert Rehbein received a positive test result for the
presence of cocaine. The cocaine was packaged in 6 bags that had the following weights without
container: 125.26g, 124.682,125.70g, 126.25g, 124.96g, and 18.91g. The total weight was 645.76g.
The currency that was recovered was turned over to TFA Wellens. The currency found on COLE
totaled $5,377.00, and the currency found in the duffel bag totaled $21,100.00. Four cellular phones
were also recovered in the vehicle. Two were functioning US Cellular phones and the numbers were
414-610-0990 and 414-627-5395,

During a post-arrest, Mirandized, statement to officers, Cole said that he received 2
kilograms during the early morning hours of February 3, 2006, from JJ Estrada and Estrada’s
associates.

COLE was convicted on May 2, 2001, in Milwaukee County Circuit Court for the
Manufacture/Delivery of Cocaine PTAC (15-40g) and was sentenced to 6 years, three years of

confinement and three years on extended supervision. COLE was out on Parole at the time of the
above offense.

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